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                       IN THE UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF PENNSYLVANIA

Beverly Witmer and Roger E. Witmer Jr.,      :
       Plaintiffs,                           :
v.                                           :       Civil Action No.:
                                             :
First Credit Services, Inc., d/b/a           :
Stanley Weinberg & Associates, Inc.,         :
and Jay Alan, an individual,                 :
Stanley Weinberg, debt collector             :
Frank Russo, President of First Credit       :
        Defendants.                          :

                                          COMPLAINT

1.     Plaintiffs are individuals residing in the Commonwealth of Pennsylvania, and consumer

       pursuant to 15 U.S.C. §1692a(3).

2.     Defendant First Credit Services, Inc., d/b/a Stanley Weinberg & Assoc., is a business

       entity engaged in the business of collecting consumer debts, within this Commonwealth,

       with its principal place of business located at, 800 Springer Drive, Lombard, IL 60148.

3.     Defendant Jay Alan and Stanley Weinberg are debt collectors, engaged in the business of

       collected consumer debts, within this Commonwealth, with its principal place of business

       located at, 800 Springer Drive, Lombard, IL 60148.

4.     Defendant Frank Russo, is the president of First Credit Service, Inc., and directs and

       controls the collection practices of the defendant corporation, with his principal place of

       business located at, 800 Springer Drive, Lombard, IL 60148 and One Woodbridge

       Center, #410, Woodbridge, NJ, 07095.

5.     On or about September through January 2007, Defendants contacted Plaintiffs by U.S.

       Mail and/or telephone calls in an attempt to collect an alleged consumer debt.

6.     Defendants are debt collectors as defined by the state law and the FDCPA. 15 U.S.C.
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      11692a(6).

7.    Defendants sent letters and/or made telephone calls to Plaintiffs between September 2006

      and December 2006, which are “communications” relating to a “debt” as defined by 15

      U.S.C. 11692a(2).

8.    At all pertinent times hereto, the Defendants were collecting an alleged debt relating to a

      consumer transaction, pursuant to 15 U.S.C. § 1692a(5). (Hereinafter the “alleged debt.”)

9.    Defendants communicated with Plaintiffs on or after one year before the date of this

      action, in connection with collection efforts, by letters, telephone contact or other

      documents, with regard to Plaintiffs’s alleged debt.

10.   Plaintiffs believe and therefore avers that Defendants’s letters contained false,

      misleading, deceptive and/or confusing statements.

11.   Plaintiffs believe and therefore avers that agents of Defendants, in its telephone

      communications made false, misleading, deceptive and/or confusing statements.

12.   Plaintiffs believe and therefore avers that agents of Defendants, in its telephone

      communications, were rude, beligerent, insulting and harassing to the Plaintiffs.

13.   Plaintiffs believe and therefore avers that agents of Defendants discussed his alleged debt

      with a third party, without consent.

14.   Plaintiffs disputes the alleged debt and hereby requests proof of the manner in which the

      alleged debt was calculated, as is required by state and federal law.

15.   Defendants failed to make clear to the Plaintiffs that it has no authority to take legal

      action in Pennsylvania.

16.   Agents of Defendants, Mr. Alan, made threats of criminal prosecution, in violation of

      state and federal law.
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17.    Agents of Defendants, Mr. Alan, gave legal and financial advice to the Plaintiffs, despite

       not be licensed to practice law in any state.

18.    Plaintiffs believe and therefore avers that Defendants continued to contact Plaintiffs at

       work despite knowing that Defendants was not permitted to contact Plaintiffs at work.

19.    Consumers are hurt by these tactics.

      COUNT I - PENNSYLVANIA FAIR CREDIT EXTENSION UNIFORMITY ACT

20.    Plaintiffs hereby incorporates the foregoing as if fully stated herein.

21.    Jurisdiction for this Action is asserted pursuant to the Pennsylvania Fair Credit Extension

        Uniformity Act, 73 P.S. §2270 et seq.

22.    Violating provisions of the Fair Debt Collection Practices Act also violate the

       Pennsylvania FCEU, 73 P.S. §2270.4(a).

23.    That Defendants engaged in unfair methods of competition and unfair or deceptive acts

       or practices, as defined by FCEU and the regulations, including but not limited to,

       violations of 37 Pa.Code §§303.3(3), 303.3(14), 303.3(18), 303.6 and 73 P.S. §201-2(4).

24.    Defendants’s acts as described herein were done with malicious, intentional, willful,

       reckless, negligent and wanton disregard for Plaintiffs’s rights with the purpose of

       coercing Plaintiffs to pay the alleged debt.

25.    As a result of the above violations, Plaintiffs is entitled to statutory, actual, treble and

       punitive damages and attorney’s fees and costs.

       WHEREFORE, Plaintiffs requests that this Honorable Court issue judgment on

Plaintiffs’s behalf and against Defendants for a statutory penalty, treble damages, punitive

damages, attorney fees and costs pursuant to 73 P.S. 2207.5.

                                    COUNT II -
                       FAIR DEBT COLLECTION PRACTICES ACT
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26.   Plaintiffs hereby incorporates the foregoing as if fully set forth herein.

27.   Jurisdiction for this action is asserted pursuant to the Fair Debt Collection Practices Act,

      15 U.S.C. §1692, et seq. (“FDCPA”), particularly 15 U.S.C. §1692k(d) and 28 U.S.C.

      §1337.

28.   Venue lies in this District pursuant to 28 U.S.C. 1391(b).

29.   The FDCPA states that a violation of state law is a violation of the FDCPA. 15 U.S.C.

      §1692n.

30.   Plaintiffs believe and therefore avers that Defendants does not have proper assignment of

      the claim, and is therefore, unable to collect the alleged debt pursuant to18 Pa.C.S.

      §7311(a)(1) and (2).

31.   Plaintiffs believe and therefore avers that Defendants does not have proper assignments

      and/or documentation permitting said Defendants to charge interest, fees and/or costs. 18

      Pa.C.S. §73112(b)(1).

32.   The FDCPA states that a violation of state law is a violation of the FDCPA. 15 U.S.C.

      §1692n. Defendants violated this section of the FDCPA.

33.   Plaintiffs believe and therefore avers that Defendants added interest, fees and costs in

      violation of state and federal law.

34.   Defendants in its collection efforts, demanded interest, fees and/or costs in violation of

      the FDCPA, 15 U.S.C. §1692f(1) and 1692e(2)A and B.

35.   There was never an express agreement by Plaintiffs to pay any additional fees, cost or

      interest to Defendants or any of its agents.

36.   Defendants repeatedly contacted Plaintiffs at work, despite being repeatedly advised that

      the Plaintiffs were unable to receive calls at work.
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37.   Mrs. Witmer specifically informed Mr. Alan that she could lose her job if the Defendants

      persisted.

38.   Defendants repeatedly contacted Plaintiffs, both Mr. and Mrs. Witmer, on cell phones,

      despite being repeatedly advised that they could not afford for them to continuing using

      that number.

39.   The Plaintiffs gave the Defendants a telephone number to use for contact, the Defendants

      used work and cell phone numbers instead.

40.   There were times when the Defendants contacted Plaintiffs at work, and Plaintiffs’s co-

      workers received the call.

41.   During calls to Plaintiffs’s place of employment, Defendants’s agents were beligerent,

      rude and inferred that Plaintiffs owed money.

42.   The Plaintiffs attempted by telephone and in writing, to obtain validation of the alleged

      debt, because the amount was incorrect.

43.   To date, the Defendants has not validated the alleged debt.

44.   The initial communication made by the Defendants was by telephone and during the

      initial calls to both Mr. and Mrs. Witmer, the Defendants failed to give the required

      notices under the FDCPA.

45.   The FDCPA states, a debt collector may not use unfair or unconscionable means to

      collect or attempt to collect any debt. 15 U.S.C. §1692f. Defendants violated this section

      of the FDCPA.

46.   The FDCPA states, a debt collector may not use false, deceptive or misleading

      representation or means in connection with the collection of any debt. 15 U.S.C.

      §1692e(5) and (10), §1692f(8) and §1692j. Defendants violated these sections of the
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      FDCPA.

47.   Agents of the Defendants discussed Plaintiffs’s alleged debt with a third party, without

      consent.

48.   During the course of conversations with agents of the Defendants, Plaintiffs requested

      information regarding the creditor, amount of the alleged debt and the address of the

      Defendants.

49.   The agent refused to provide the Plaintiffs with the information.

50.   To date, no debt collector has been able to validate the alleged debt.

51.   The FDCPA states, a debt collector may not discuss the consumers alleged debt with a

      third party. The Defendants violated this section of the FDCPA.

52.   The FDCPA states, a debt collector may not engage in any conduct the natural

      consequence of which is to harass, oppress or abuse any person in connection with the

      collection of a debt. 15 U.S.C. §1692d. Defendants violated this section of the FDCPA.

53.   The FDCPA provides certain rights to the consumer regarding the consumer’s right to

      dispute the alleged debt, 15 U.S.C. §1692g. Defendants violated this section of the

      FDCPA.

54.   Defendants by and through Mr. Alan, made false threats of criminal prosecution.

55.   Defendants by and through Mr. Alan, gave legal and financial advise, despite the fact that

      Mr. Alan is not licensed to practice law in any state.

56.   Any threat of litigation is false if the Defendants rarely, sues consumer debtors or if the

      Defendants did not intend to sue the Plaintiffs. Bently v. Great Lakes Collection Bureau,

      6 F.3d 62 (2d Cir. 1998). See also, 15 U.S.C. §1692e(5), 15 U.S.C. §1692e(10).

57.   The Defendants violated 15 U.S.C. § 1692e(2)(A), (5) and (10) by misrepresenting the
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      imminence of legal action by Defendants.

58.   The Defendants violated 15 U.S.C. § 1692c(b) by contacting a third party, without the

      Plaintiff's prior consent.

59.   The Defendants violated 15 U.S.C. § 1692c by contacting the Plaintiff after the Plaintiff

      had requested the Defendants cease communication with the Plaintiff.

60.   The Defendants violated 15 U.S.C. §1692e(11) by failing to provide the consumer with

      the proper warning, “this is an attempt to collect a debt, any information obtained will be

      used for that purpose,” during the initial telephone communications and in subsequent

      communications.

61.   Defendants violated 15 U.S.C. §1692g, by failing to provide the consumer with the

      proper validation notice within five days of the initial communication.

62.   Defendants violated 15 U.S.C. §1692g by demanding payment without providing the

      proper consumer warnings, thus, defendants overshadowed the FDCPA.

63.   Defendants violated 15 U.S.C. §1692e(7) by implying, during the course of the

      conversation, that the consumer was in “trouble with the law,” and/or “committed theft.”

64.   Defendants violated 15 U.S.C. §1692e(15) by using a name other than the true name of

      the debt collectors business.

65.   Defendants violated 15 U.S.C. §1692f, by threatening and/or filing suit without proper

      legal authority in Pennsylvania.

66.   Defendants violated 15 U.S.C. §1692d(2) by using profane and abusive language towards

      the consumer.

67.   Defendants violated 15 U.S.C. §1692d(5) by causing the phone to ring and engaging the

      consumer in repeated conversations.
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68.   Defendants violated 15 U.S.C. §1692d(6) by making telephone calls without disclosing

      his/her identity.

69.   Defendants violated 15 U.S.C. §1692b(2) by communicating with third parties regarding

      the alleged debt, without the consent of the consumer.

70.   Defendants violated 15 U.S.C. §1692b(3) by communicating with persons other than the

      Plaintiff more than one time, without consent and without the consent of the Plaintiff.

71.   The Defendants violated 15 U.S.C. § 1692e(2)(A), (5) and (10) by misrepresenting the

      imminence of legal action by Defendants.

72.   The Defendants violated 15 U.S.C. § 1692c(b) by contacting a third party, without the

      Plaintiff's prior consent.

73.   The Defendants violated 15 U.S.C. § 1692c by contacting the Plaintiff after the Plaintiff

      had requested the Defendants cease communication with the Plaintiff.

74.   At all time pertinent hereto, the Defendants was acting by and through its agents, servants

      and/or employees, who were acting within the scope and course of their employment, and

      under the direct supervision and control of the Defendants herein.

75.   At all times pertinent hereto, the conduct of Defendants as well as their agents, servants,

      and/or employees, was malicious, intentional, willful, reckless, negligent and in wanton

      disregard for federal and state law and the rights of the Plaintiffs herein.

76.   The above mentioned acts with supporting cases demonstrates that the conduct of

      Defendants rises to the level needed for punitive damages.

77.   Defendants, in its collection efforts, violated the FDCPA, inter alia, Sections 1692, b, c,

      d, e, f, g, h, and/or n.

78.   Defendants, in its collection efforts, used false or deceptive acts and intended to oppress
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       and harass Plaintiffs.

79.    That, as a result of the wrongful tactics of Defendants as aforementioned, Plaintiffs has

       been subjected to anxiety, harassment, intimidation and annoyance for which

       compensation is sought.

       WHEREFORE, Plaintiffs respectfully requests that his Honorable Court enter judgment

for Plaintiffs and against Defendants and issue an Order:

       (A)     Award Plaintiffs statutory damages in the amount of One Thousand Dollars

               ($1,000.00) for each violation of the FDCPA or each separate and discrete

               incident in which Defendants have violated the FDCPA.

       (B)     Award Plaintiffs general damages and punitive damages for anxiety, harassment,

               and intimidation directed at Plaintiffs in an amount not less than Ten Thousand

               Dollars ($10,000.00), as well as the repetitive nature of Defendants form letters.

       C)      Award Plaintiffs costs of this litigation, including a reasonable attorney’s fee at a

               rate of $450.00/hour for hours reasonably expended Plaintiffs’s attorney in

               vindicating his rights under the FDCPA, permitted by 15 U.S.C. §1692k(a)(3).

       (D)     Award declaratory and injunctive relief, and such other relief as this Honorable

               Court deems necessary and proper or law or equity may provide.

                      COUNT III - FAIR CREDIT REPORTING ACT

80.    Plaintiffs hereby incorporates the foregoing as if fully set forth herein.

81.    The Fair Credit Reporting at, 15 U.S.C. §1681b prohibits the improper use of a

       consumer’s credit information.

82.    Plaintiffs believe and therefore avers that the Defendants reported false, misleading

       and/or inaccurate information on Plaintiffs’s credit report, without first validating the
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       alleged debt.

83.    Plaintiffs believe and therefore avers that the Defendants reviewed Plaintiffs’ credit

       report without proper authority or assignment of the alleged debt.

       WHEREFORE, Plaintiffs respectfully requests that his Honorable Court enter judgment

for Plaintiffs and against Defendants and issue an Order:

       (A)       Award Plaintiffs statutory damages in the amount of One Thousand Dollars

                 ($1,000.00) for each violation of the FCRA or each separate and discrete incident

                 in which Defendants have violated the FCRA. 15 U.S.C. §1681n(a)(1)(A).

       (B)       Award Plaintiffs general damages and punitive damages for anxiety, harassment,

                 and intimidation directed at Plaintiffs in an amount not less than Ten Thousand

                 Dollars ($10,000.00), as well as the repetitive nature of Defendants form letters.

       C)        Award Plaintiffs costs of this litigation, including a reasonable attorney’s fee at a

                 rate of $450.00/hour for hours reasonably expended Plaintiffs’s attorney in

                 vindicating his rights under the FDCPA, permitted by 15 U.S.C. §1681n(3)C).

Dated: 4/25/07                                  By: /s/Deanna Lynn Saracco
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